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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    PIERCE MANUFACTURING INC. and
    OSHKOSH CORPORATION,

           Plaintiffs,
    v.                                                    Case No.: 8:18-cv-617-JSM-TGW

    E-ONE, INC. and REV GROUP, INC.,

           Defendants.


         DECLARATION OF SCOTT J. PIVNICK IN SUPPORT OF PLAINTIFFS’
         DAUBERT MOTION TO EXCLUDE THE TESTIMONY AND OPINIONS
                        OF JOSEPH F. RAKOW, Ph.D.

           I, Scott J. Pivnick, declare as follows:

           1.      I am currently employed at Alston & Bird LLP as a Partner.

           2.      I am one of the counsel of record for Plaintiffs Pierce Manufacturing Inc. and

    Oshkosh Corporation.

           3.      Attached as Exhibit A is a true and correct copy of U.S. Patent No. 9,597,536,

    issued March 21, 2017, marked as Exhibit 4 at the deposition of W. Todd Schoettelkotte, taken

    September 19, 2019.

           4.      Attached as Exhibit B is a true and correct copy of U.S. Patent No. 9,814,915,

    issued November 14, 2017, marked as Exhibit 5 at the deposition of W. Todd Schoettelkotte,

    taken September 19, 2019.
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            5.     Attached as Exhibit C is a true and correct copy of excerpts of the transcript of

    the Claim Construction Hearing held February 13, 2019 before the Honorable James S. Moody,

    Jr.

            6.     Attached as Exhibit D is a true and correct copy of the August 29, 2019

    Corrected Opening Expert Report of Dr. Joseph Rakow re: Invalidity of United States Patent

    No. 9,597,536 and United States Patent No. 9,814,915.           This exhibit contains Highly

    Confidential – Outside Attorneys’ Eyes Only information and is being filed under seal in

    accordance with the Protective Order (D.I. 106) in this case.

            7.     Exhibits E and F were intentionally omitted.

            8.     Attached as Exhibit G is a true and correct copy of a document titled, “Invalidity

    Claim Chart – Lenz and Other Prior Art,” attached as Exhibit 6 to the Defendants’ Amended

    Invalidity Contentions, served April 12, 2019.

            9.     Attached as Exhibit I is a true and correct copy of excerpts of the transcript of

    the deposition of Dr. Joseph Rakow, taken September 16, 2019. This exhibit contains Highly

    Confidential – Outside Attorneys’ Eyes Only information and is being filed under seal in

    accordance with the Protective Order (D.I. 106) in this case.

            10.    Attached as Exhibit J is a true and correct copy of the August 26, 2019 Rebuttal

    Expert Report of Thomas R. Kurfess, Ph.D. re: Validity of U.S. Patent Nos. 9,597,536 and

    9,814,915.    This exhibit contains Highly Confidential – Outside Attorneys’ Eyes Only

    information and is being filed under seal in accordance with the Protective Order (D.I. 106) in

    this case.




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            11.     Attached as Exhibit K is a true and correct copy of excerpts of the transcript of

    the deposition of Alan Saulsbury, taken September 13, 2019. This transcript has been

    designated by Defendants as Highly Confidential – Outside Attorneys’ Eyes Only information

    and is being filed under seal in accordance with the Protective Order (D.I. 106) in this case.

            12.     Attached as Exhibit L is a true and correct copy of a document titled,

    “Additional 200 Gallons of Water on Hinsdale Quint,” served as an attachment to the

    September 25, 2019 email from Mira Yohannes to counsel for Plaintiffs. The cover email

    stated that the errata is Highly Confidential – Outside Attorneys’ Eyes Only and so this

    document is being filed under seal in accordance with the Protective Order (D.I. 106) in this

    case.

            13.     Attached as Exhibit M is a true and correct copy of a document titled,

    “Calculation of Tip Load for Hinsdale Rosenbauer Truck, Ladder Extended to the Side,”

    served as an attachment to the September 25, 2019 email from Mira Yohannes to counsel for

    Plaintiffs.   This exhibit contains Highly Confidential – Outside Attorneys’ Eyes Only

    information and is being filed under seal in accordance with the Protective Order (D.I. 106) in

    this case.

            14.     Attached as Exhibit N is a true and correct copy of excerpts of Plaintiff Pierce

    Manufacturing Inc.’s Objections and Responses to Defendant E-One, Inc.’s Second Set of

    Interrogatories, served October 22, 2018.




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             I declare under the laws of the United States of America that the foregoing is true and

    correct.

             Executed on this 30th day of October, 2019.

                                                            /s/ Scott J. Pivnick
                                                              Scott J. Pivnick




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